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                                                                                               GO11-17(a)/ BS     /59A

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF ARKANSAS
                                          CENTRAL DIVISION

IN RE: Brittany S Maxwell                                                CASE NO:        4:19-bk-15322 T
                                                                                             Chapter 13

                                 CHAPTER 13 ORDER TO MODIFY PLAN
                                  AND TO PROVIDE DOCUMENTATION

   Before the court is the Objection to Confirmation of Plan, Docket Entry [17], filed on 11/21/2019 by the

Trustee. The Objection was set for hearing on 01/07/2020. Prior to the hearing, the objection was settled, and

a hearing was not necessary.

    For cause shown, the court finds that the Objection to Confirmation is sustained. The debtor is hereby

granted 21 days from the date of this Order to file a modification to the plan and to provide documentation ,

amended Schedules F & I, regarding the plan. Failure to file the modification and submit the documentation

within the time described in this Order may result in dismissal of the case without further notice or hearing .

   IT IS SO ORDERED.




                                                                 /s/ Richard D. Taylor
                                                                            Richard D. Taylor
                                                                         U.S. Bankruptcy Judge

                                                            Date:    January 08, 2020
cc: Mark T. McCarty, Trustee

     Danyelle J. Walker (Noticed by ECF)
     Law Office Of Danyelle Walker, Pllc
     323 Center Street Ste 1020
     Little Rock, AR 72201

     Brittany S Maxwell
     3818 West 19Th Street
     Little Rock, AR 72204
